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 4
                          UNITED STATES DISTRICT COURT
 5
                         CENTRAL DISTRICT OF CALIFORNIA
 6                             WESTERN DIVISION
 7
 8   BELINDA TRAN,                           )     No. 8:20-cv-00631-KK
 9       Plaintiff,                          )
                v.                           )     [[PROPOSED]
10
     ANDREW SAUL,                            )     JUDGMENT FOR VOLUTARY
11   Commissioner of Social Security,        )     REMAND PURSUANT TO
12
                                             )     SENTENCE FOUR OF 42 U.S.C. §
           Defendant.                        )     405(g)
13                                           )
14                                           )
                                             )
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16
           The Court having approved the parties’ Stipulation to Voluntary Remand
17   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and Entry of Judgment
18   (“Stipulation to Remand”) lodged concurrent with the lodging of the within
19   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
20   DECREED that the above-captioned action is remanded to the Commissioner of
21   Social Security for further proceedings consistent with the Stipulation to Remand.
22
23         IT IS SO ORDERED.
24
25
26   Dated: December 29, 2020 __________________________________________
27                              THE HONORABLE KENLY KIYA KATO
                                U.S. MAGISTRATE JUDGE
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